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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

WILLIAM HOWELL,
QB_DB
Plaintiff,
l6-CV-6117CJS
v.
MONROE COUNTY, et al.,
Defendants.

 

Plaintiff William HoWell (“Howell”) having filed a motion for sanctions (Docket
# 33), defendants (except for Shahid Ali, N.P., against Whom Howell did not seek reliei)
(eollectively, “Defendants”) having opposed the motion (Docket # 35), this Court having
reviewed the parties’ submissions, and oral argument having been conducted on September 20,
2017, it is hereby

ORDERED, for the reasons stated more i`ully on the record on September 2(),
2017, that HoWell’s motion for sanctions (Docket # 33) is GRANTED in PART and DENIED
in PART. Speciiically, Defendants’ request for sanctions in the form of an order striking the
Answer or precluding Defendants from offering certain evidence is denied. The request for a
determination that Defendants have Waived their objections to Howell’s discovery requests is
granted, except that Defendants are not required to disclose individual defendants’ tax returns or
financial information Defendants are directed to disclose all other documents responsive to
HoWell’s document demands and answer HoWell’s interrogatories by no later than October 27,
2017 . ln addition, the parties are to meet and confer promptly in order to clarify any issues

relating to HoWell’s discovery requests Howell’s request that Defendants be ordered to

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reimburse HoWell’S attorneys5 fees and costs incurred in connection With his motion for
sanctions (Docket # 33) is granted. ln the event that the parties are unable to resolve the amount
of attorneys’ fees and costs to be reimbursed, Howell’s counsel must submit to this Court by no
later than October 27 , 2017 , an affidavit attesting to and demonstrating the hours spent, the
billing rate, and the costs incurred. Defendants may respond to the affidavit by no later than
November 9, 2017.

IT IS SO ORDERED.

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MARIAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, NeW York
September ll , 2017

